          EXHIBIT A




Case 5:21-cv-00037-FL Document 1-1 Filed 01/26/21 Page 1 of 13
                                                                                                           ^ File No.
  STATE OF NORTH CAROLINA
                     Cumberland                       County
                                                                                                                                 20 CVS
                                                                                                                                               t&snk
                                                                                                                 In The General Court Of Justice
                                                                                                               □ District g] Superior Court Division
Afeme Of Plaintiff
Aaron Thomas Graham
Address
PO Box 1389                                                                                                     CIVIL SUMMONS
City. State. Zip
                                                                                             □ ALIAS AND PLURIES SUMMONS (ASSESS FEE)
Dunn                                                           NC          28335
                                      VERSUS                                                                                           G.S. 1A-1, Rules 3 and 4
Name Of Defendants}                                                                   Date Original Summons Issued
Family Dollar Stores of North Carolina, Inc.
                                                                                      Date(s) Subsequent Summons(es) issued




 To Each Of The Defendants) Named Below:
Name And Address Of Defendant 1                                                       Name And Address Of Defendant 2
Family Dollar Stores of North Carolina, Inc.
                                                                                                                                         ■ 4
c/o Corporation Service Company, its Registered Agent
2626 Glenwood Avenue, Suite 500
Raleigh                                       NC      27608
                     IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
                     You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as


 A                   possible, and, if needed, speak with someone who reads English and can translate these papers!
                     jIMPORTANTE! |Se ha entablado un proceso civil en su contra! Estos papeles son documentos legates.
                     {NO TIRE estos papeles!
                     Tiene que contestar a mis tardar en 30 dias. jPuede querer consultar con un abogado lo antes posible
                     acerca de su caso y, de ser necesario, hablar con alguien que lea inglds y que pueda traducir estos
                     documentos!
 A Civil Action Has Been Commenced Against You!
 You are notified to appear and answer the complaint of the plaintiff as follows:
 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff’s attorney within thirty (30) days after you have been
    served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff’s last known address, and
 2. File the original of the written answer with the Clerk of Superior Court of the county named above.
 If you foil to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint
Name And Address Of Plaintiff's Attorney (if none. Address Of Plaintiff)              Da*                                Time
Brenton D. Adams, Esq.                                                                                                                               Qp”
Brent Adams & Associates                                                              Signatui
POBox 1389
Dunn                                                          NC           28335            uKuty CSC          Q Assistant CSC   Q Cferir Of Superior Court




                                                                                      Date Of Endorsement               Time
□ ENDORSEMENT (ASSESS FEE)                                                                                                                 □ am [Jpm
  This Summons was originally issued on the date indicated                            Signature
  above and returned not served. At the request of the plaintiff,
  the time within which this Summons must be served is
  extended sixty (60) days.                                                                 □ Deputy CSC       □ Assistant CSC   □ Clerk Of Superior Court

NOTE TO PARTIES: Many counties have MANDATORYARBITRATION programs in which most cases where the amount in controversy is $25,000 or
                 less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
                 so, what procedure is to be followed.

                                                                                   (Over)
 AOC-CV-100, Rev. 4/18
 C 2018 Administrative Office of the Courts
                       Case 5:21-cv-00037-FL Document 1-1 Filed 01/26/21 Page 2 of 13
                                                                        RETURN OF SERVICE
 I certify that this Summons and a copy of the complaint were received and served as follows:

                                                                             DEFENDANT 1
Date Served                              Time Served                                      Name Of Defendant
                                                                    □ am Opm
□ By delivering to the defendant named above a copy of the summons and complaint.
 □ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
   person of suitable age and discretion then residing therein.
 □ As the defendant is a corporation, service was effected by delivering a copy of the summons and complaint to the person named
   below
        Name And Address Of Person WWi Whom Copies Left (if corporation give title of person copies left with)




 □ Other manner of service (specify)




 □ Defendant WAS NOT served for the following reason:

                                                                                                                                       r.




                                                                              DEFENDANT 2
Date Served                               Time Served                                     Name Of Defendant
                                                                    □ am Qpm
 □ By delivering to the defendant named above a copy of the summons and complaint.
 □ By leaving a copy of the summons and complaint at the dwelling house or usual place of abode of the defendant named above with a
   person of suitable age and discretion then residing therein.
 □ As the defendant is a corporation, service Was effected by delivering a coby of the summons and compfaint to the person named            r
   below.
         Name And Address Of Person IMth Whom Copies Left (if corporation, give title or person copies left with)

                           4.-’




 □ Other manner of service (specify)




  □ Defendant WAS NOT served for the following reason:




 Service Fee Paid                                                                          Signature Of Deputy Sheriff Making Return
 $
 Date Received                                                                             Name Of Shetilf (type or print)


 Date Or Return                                                                            County Of Sherttf



     AOC-CV-100, Side Two, Rev. 4/18
     O 2018 Administrative Office of the Courts
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                                                                                                          ^ File No.
 STATE OF NORTH CAROLINA                                                                                                                  20 CVS
                  Cumberland                     County                                                             In The General Court Of Justice
                                                                                                                  □ District EH Superior Court Division
Name And Address Of Plaintiff 1
Aaron Thomas Graham
                                                                                        • -=.a
c/o Brent Adams & Associates
PO Box 1389
Dunn                                                  NC            28335
                                                                          m r: r>                A
                                                                                                                     GENERAL
                                                                                                                  ACTION COVER SHEET
Name And Address Of Plaintiff 2                                      r:
                                                                                                      Jg INITIAL FILING        □ SUBSEQUE NT FILING



                                                                                    ________ Rule 5(b) of the General Rule* of Practice tor Ihe Superior and Dlttrlet Courta
                                    VERSUS                                          Name And Address Of Attorney Or Party, If Not Represented
                                                                                    (complete for initial appearance or change of address)
Name And Address Of Defendant 1
                                                                                     Brenton D. Adams
Family Dollar Stores of North Carolina, Inc.                                         Brent Adams & Associates
                                                                                     PO Box 1389
2626 Glenwood Avenue, Suite 550
                                                                                     Dunn                                                      NC             28334
Raleigh__________________________ NC                                27608           Telephone No.                                 Cellular Telephone No.
Summons Submitted
                                                                                                   910-892-8177
                                  0 Yes     □ No                                    NC Attorney Bar No.        Attorney Email Address

Name And Address Of Defendant 2                                                                  11             bFent@bFentadams.com
                                                                                                 H Initial Appearance in Case           G Change of Address
                                                                                    Name Of Firm                                                   Fax No.
                                                                                     Brent Adams & Associates                                           910-483-7903
Summons Submitted                                                                    Counsel For
                                                                                     [x| All Plaintiffs    I     I All Defendants       I I Only: (istpertyfies) represented)
                                  G Yes     G No

                                  |xj Jury Demanded In Pleading           G Complex Litigation             G Stipulate to Arbitration
                                                                     TYPE OF PLEADING
    (Chech ell that apply)
□ Amend (AMND)                                                                       G Failure To State A Claim (FASC)
□ Amended Answer/Reply (AMND-Response)                                                □ Implementation Of Wage Withholding in Non-IV-D Cases (OTHR)
□ Amended Complaint (AMND)                                                            □ Improper Venue/Divisfon (IMVN)
□Assess Costs (COST)                                                                  □ Including Attorney's Fees (ATTY)
□ Answer/Reply (ANSW-Response) (see Note)                                            Q Intervene (INTR)
□ Change Venue (CHVN)                                                                □ Interplead (OTHR)
|X] Complaint (COMP)                                                                 I I Lack Of Jurisdiction (Person) (LJPN)
□ Confession Of Judgment (CNFJ)                                                      G Luck Of Jurisdiction (Subject Matter) (USM)
□ Consent Order (CONS)                                                               G Modification Of Child Support In IV-D Actions (MSUP)
□ Consolidate (CNSL)                                                                  □ Notice Of Dismissal With Or Without Prejudice (VOLD)
□ Contempt (CNTP)                                                                    G Petition To Sue As Indigent (OTHR)
□ Continue (CNTN)                                                                    Q Rule 12 Motion In Lieu Of Answer (MDLA)
□ Compel (CMPL)                                                                      G Sanctions (SANC)
□ Counterclaim (CTCL) Assess Court Costs                                             □ Set Aside (OTHR)
□ Crossdaim (list on back) (CRSS) Assess Court Costs                                 O Show Cause (SHOW)
□ Dismiss (DISM) Assess Court Costs                                                  Q Transfer (TRFR)
□ ExemptMbive Mediation (EXMD)                                                        □ Third Party Complaint (fist ThirxJ Party Defendants on beck) (TPCL)
□ Extend Statute Of Limitations. Rule 9 (ESOL)                                       Ovacale/Modlfy Judgment (VCMD)
□ Extend Time For Complaint (EXCO)                                                   □ withdraw As Counsel (WDCN)
□ Failure To Join Necessary Party (FJNP)                                              G Other (specify and list each separately)



 NOTE: All filings In civil actions shall include as the first page of die filing a cover sheet summarizing the critical elements of the filing In a fomat prescribed by
       the Administrative Office of the Courts, and the Clerk of Superior Court shall require a party to refile a filing which does not Include the required cover
       sheet. For subsequent filings In civil actions, the fifing party must include either a General Civil (AOC-CV-751), Motion (AOC-CV-752) or Court Action
       (AOC-CV-753) cover sheet
                                                                                     (Over)
  AOC-CV-751, Rev.Case            5:21-cv-00037-FL
                        3/19, Q 2019   Administrative Office of theDocument
                                                                      Courts           1-1 Filed 01/26/21 Page 4 of 13
                                                                              r>
STATE OF NORTH CAROLINA                               IN THE GENERAL COURT                  JUSTICE
COUNTY OF CUMBERLAND                                       SUPERIOR'4-----
                                                                     !
                                                                           -------- -           1
                                                               20 CVS             . ^
                                                                         '          V' 1
                                                                                    o
Aaoron Thomas Graham,
                                                                                     >>
                                                                                     t. ^
       Plaintiff,
                                                                     COMPLAINT r i
v.                                                               (Jury Trial Requested)

Family Dollar Stores of North Carolina, Inc.,

       Defendant.


       NOW COMES Plaintiff, complaining of Defendant, and as a cause of action and alleges

and says:

       1.       That at all times mentioned herein, Defendant, Family Dollars Stores of North

Carolina, Inc., (hereinafter referred to collectively as, “Defendant Family Dollar Store” or

“Defendant”), owned the retail store known as the Family Dollar Store, located at 4112 Raeford

Road, Fayetteville, North Carolina.

       2.       That at all times mentioned herein, Defendant operated a retail store commonly

known as the Family Dollar Store, located at 4112 Raeford Road, Fayetteville, North Carolina.

       3.       That on November 29, 2020, Plaintiff visited Defendant’s retail store, located at

4112 Raeford Road in Fayetteville, North Carolina, for the purpose of shopping for merchandise.

       4.       That at all times while in the store, Plaintiff was wearing his protective mask to

protect other people from infection.

       5.       That Plaintiff was well behaved in the store.

       6.       That Plaintiff did not cause any disturbance whatsoever.

       7.       That Plaintiffs entry in the store was lawful.

       8.       That Plaintiff was a business invitee into the store.


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        9.      That Plaintiff did not do anything to provoke anyone else in the store.

        10.     That while shopping at the store, a former store employee, Jerome Pigford,

instructed Plaintiff to leave the store.

        11.      That as Plaintiff was leaving the store, he asked for an explanation as to why he

was being asked to leave the store.

        12.      That upon being instructed to do so by Jerome Pigford, Plaintiff left the store as

instructed.

        13.      That as he was leaving the store. Plaintiff did protest and inquired as to why he

was being asked to leave the store.

        14.      That words were exchanged between Plaintiff and Jerome Pigford.

        15.      That Jerome Pigford followed Plaintiff out of the store.

        16.      That Jerome Pigford had a box cutter in his hand and began walking towards

Plaintiff.

        17.      That Jerome Pigford reached Plaintiff outside the store.

        18.      That while outside the store. Defendant Pigford slashed Plaintiffs throat open

with the box cutter.

         19.     That after his throat was slashed open. Plaintiff fell to the ground, bleeding

profusely.

        20.      That there was no justification or excuse whatsoever for Jerome Pigford to assault

Plaintiff

         21.     That at all times mentioned herein, Jerome Pigford was an agent and employee of

Defendant Family Dollar Store and was acting within the course and scope of his employment.




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                                                                                                      J
That Defendant is liable to the Plaintiff for the conduct of their employee Jerome Pigford under
the doctrine of respondeat superior.
       22.     That Defendant’s agent and employee, Jerome Pigford, was negligent and failed
to exercise due care as a reasonable and prudent person in his conduct towards Plaintiff.
       23.     That at the time of the injury suffered by Plaintiff, and prior thereto, Defendant’s
agent and employee Jerome Pigford was negligent in that he:
               A.        Improperly used a box cutter with a sharp razor installed when dealing
       with Plaintiff.

               B.        Negligently struck Plaintiff with Defendant’s box cutter which was
       negligently opened and which exposed the sharp edge towards Plaintiffs throat.
               C.        Negligently failed to control his temper and he engaged in improper
        conduct with respect to Plaintiff.
        24.    That as a result of the negligence of Defendant’s employee, Jerome Pigford,
Plaintiff suffered painful, serious, and permanent personal injuries.
        25.    That as a result of the conduct of Jerome Pigford, Plaintiff suffered life-
threatening injuries, which involved urgent medical attention and which resulted in permanent
and painful personal injuries.
        26.     As a result of the conduct of Jerome Pigford, Plaintiffs body has been grossly
disfigured.
        27.     That as a result of the gross disfigurement of Plaintiffs body. Plaintiff has
experienced embarrassment and humiliation, and will continue to experience embarrassment and
humiliation for the remainder of his life.




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        28.           That as a result of the conduct of Jerome Pigford, Plaintiff has experienced

emotional stress and strife, and has been adversely affected with emotional problems which

require professional care.

       29.            That as a result of the conduct of Jerome Pigford, Plaintiff has experienced

physical pain and mental suffering, and will continue to experience physical pain and mental

suffering for the remainder of his life.
              ■   *




        30.           That Defendant is indebted to Plaintiff for the personal injuries and mental

suffering experienced by Plaintiff in the past and the physical pain and mental suffering which

will be suffered by Plaintiff in the future.

        31.           That Jerome Pigford has a long criminal record.

        32.           That Jerome Pigford’s criminal record includes, assault, carrying a concealed

weapon, assault on a female, conspiracy to possess with intent to distribute and distribute cocaine

base (crack), distribution of cocaine base (crack) and aiding and abetting, maintaining a dwelling

for the purpose of distributing cocaine base (crack) and aiding and abetting.

        33.           That Jerome Pigford was not a suitable person to work in the Defendant’s store

dealing with retail customers.

        34.           That Jerome Pigford was a risk to the Defendant’s customers because of his

history of violence and aggression.

        35.           That Defendant is indebted to Plaintiff for the wrongful conduct of Jerome

        Pigford under the doctrine of respondeat superior.

                            CORPORATE NEGLIGENCE OF DEFENDANTS

        36.           That the allegations contained in Paragraphs 1 through 35 above are incorporated

herein by reference as if fully set out herein.


                                                       4
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        37.     That the injuries suffered by Plaintiff as set out above were caused by the

negligence of Defendant as set out herein.

        38.     That the negligence of Defendant as set out above are separate and apart from the

conduct of Jerome Pigford and gives rise to a cause of action directly against Defendant’s

corporation for its own negligence.

                                      NEGLIGENT HIRING

       39.     That the allegations contained in Paragraph 1 through 38 above are incorporated

herein by reference as if fully set out herein.

       40.     That Defendant was negligent in hiring Jerome Pigford.

       41.     That Defendant violated its own policies and procedures when it hired Jerome

Pigford in the following ways:

               A.      Defendant failed to properly vet and screen Jerome Pigford before hiring

       him;

               B.      Defendant failed to obtain necessary background checks to determine the

       suitability of Jerome Pigford for working with the public;

               C.       Defendant failed to obtain the criminal records of Jerome Pigford to

       determine whether he had a history of violence and whether he constituted a risk of harm

       to customers of Defendant;

               D.      Defendant failed to conduct necessary psychiatric and psychological

       evaluations of Jerome Pigford before they hired him and exposed the public to Jerome

       Pigford;

               E.       Defendant failed to take other necessary steps to be sure that Jerome

       Pigford would not constitute a risk of physical harm to its customers, including Plaintiff;


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                      F.      It failed to enact and enforce sufficient and necessary policies and

              procedures for hiring appropriate personnel to work with the public in its stores; and

                      G.      It failed to properly enforce the policies and procedures it did establish for

              the hiring of personnel which would work in its stores and therefore, constitute a risk of

              harm to its customers, including Plaintiff.

                                        NEGLIGENT SUPERVISION

              42.     That the allegations contained in Paragraph 1 through 41 above are incorporated

      herein by reference as if fully set out herein..

              43.     That Defendant failed to properly supervise its employees including Jerome

      Pigford.

              44.     That Defendant failed to keep a close eye on Jerome Pigford to determine

      abnormal or aberrant behavior towards the shopping public and the customers of Defendant.

              45.     That Defendant failed to sustain close contact with Jerome Pigford, failed to

      supervise him, and failed to determine his attitudes and conduct towards the general public.

              46.     That Defendant failed to properly instruct, supervise, and discipline Jerome

      Pigford and failed to monitor his conduct to be sure that the general public would not be in

      danger by being exposed to Jerome Pigford.

                                           NEGLIGENT TRAINING

              47.     That the allegations contained in Paragraph 1 through 46 are incorporated herein

      by reference as if fully set out herein..

              48.     That Defendant failed to properly train and educate Jerome Pigford on safe and

      proper methods to deal with the general public.




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        49.    That Defendant failed to properly train Jerome Pigford on issues relating to anger

management and his relations to the public.

        50.    That Defendant failed to properly train Jerome Pigford on ways to conduct

himself in a manner which would not expose Defendant’s customers to risk of harm.

        51.    That as a result of the negligent failure of Defendant to properly train Jerome

Pigford, Plaintiff suffered the personal injuries referred to above.

                                   NEGLIGENT RETENTION

        52.    That the allegations contained in Paragraph 1 through 51 above are incorporated

herein by reference as if fully set out herein..

        53.    That once Defendant hired Jerome Pigford to work in its store, it failed to monitor

his performance to be sure that he was performing in a proper way with respect to Defendant’s

customers.

        54.     That once Defendant hired Jerome Pigford, Defendant failed to recognize that he

contained dangerous characteristics which made him a threat to the public and exposed to the

public to unreasonable risk of harm.

        55.     That Defendant negligently retained Jerome Pigford as its employee when, in the

exercise of reasonable care and diligence, it should not have continued to retain Jerome Pigford

as an employee.

        56.     That as a result of the negligent and wrongful retention of Jerome Pigford,

Plaintiff has suffered serious, painful, and permanent injuries as referred to above.

              NEGLIGENT FAILURE TO ENACT AND ENFORCE PROPER
                         POLICIES AND PROCEDURES

        57.     The allegations contained in Paragraphs 1 through 56 above are incorporated

herein by reference as if fully set out herein.

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         58.    That Defendant negligently failed to enact proper and sufficient policies and

procedures with respect to its hiring, supervision, training, and retention of employees to be

certain that those employees would not pose a risk of harm to their customers and to the

shopping public in general.
                                      PROXIMATE CAUSE

         59.    The allegations contained in Paragraphs 1 through 58 above are incorporated

herein by reference as if fully set out herein.

         60.    That as a result of the negligence of Defendant as set out above, Plaintiff has

suffered serious, permanent, and painful personal injuries, which personal injuries are referred to

above.
                                      PUNITIVE DAMAGES

         61.    That Paragraphs 1 through 60 above are incorporated herein by reference as if

fully set out herein.

          62.   That the failure of Defendant to properly hire, train, supervise Jerome Pigford and

 its negligent retention of Jerome Pigford in its employ when it knew or should have known that

 continuing to employ Jerome Pigford was a danger to its customers was willful and wanton and

 gives rise to punitive damages.

          63.    That Defendant’s negligent hiring, retention, negligent supervision, and training

 constituted aggravated conduct on the part of Defendant which gives rise to punitive damages.

          WHEREFORE, Plaintiff prays the Court, as follows:

          A.     That Plaintiff have and recover of Defendant a sum in excess of $25,000.00 for

 compensatory and punitive damages;

          B.     That Plaintiff have a trial by jury on all issues allowed by law;


                                                   8
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          C.    That Plaintiff have and recover of Defendant attorney's fees for the costs of

bringing this action;
          D.    That the costs of this action be taxed to Defendant; and
          E.    That the Court grant such other and further relief as to the it may seem just and
proper.
          Dated this the            of December, 2020.

                                                   ;NT ADAMS & ASSOCIATES


                                              dfeENTON f^DAMfc-------- ^N£.Bar No.: 11

                                               PO Box 1389
                                               Dunn,NC 28335
                                               Phone: (910) 892-8177
                                               Fax: (910)483-7903
                                               Brent@brentadams.com
                                               Attorneyfor Plaintiff




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